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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
 V.                                       )                Criminal No. 18-10450-MLW
                                          )
HENRI SALVADOR GUTIERREZ                  )
__________________________________________)

                              RESPONSE TO COURT ORDER

       The Defendant, HENRI SALVADOR GUTIERREZ (“Salvador”), replies herein to this

Honorable Court’s directives regarding next week’s in-court sentencing hearings.

       Salvador requests that the undersigned counsel, Attorney George Gormley, be allowed to

attend each of the hearings in person beginning with the first hearing on Monday, February 14,

2022. If space permits, Salvador requests that Attorney Stephen Super also be allowed to attend.

       Regarding his sentencing hearing, Salvador directs this Court to review the following

filed documents in the above-named case:

   1. Dkt No. 740, Sentencing Memorandum for Salvador Gutierrez, and attached Exhibit A;

   2. Dkt No. 741, Affidavit of Gary Slutkin, M.D, and attached Exhibits A, B and C;

   3. Dkt No. 755 (filed under seal), accompanying Affidavit of Robert Kinscherff, PhD, JD.

   4. Dkt No. 780, Sentencing Memorandum for Vaquerano Canas, pages 5-24, regarding

       adolescent brain development;

   5. Dkt No. 813, Response to Court Order, pages 2-3 and accompanying Exhibits A and B;

   6. Dkt No. 819, Response to Court Order: Briefing on Contested Guideline Adjustments,

       pages 35-37 and footnote 9;

   7. Dkt. No. 822, Affidavit of Robert Kinscherff, PhD, JD;



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   8. Dkt. No. 850, Response to Court Order: PSR Issues.

   9. Dkt No. 862, Allocution, and;

   10. Dkt No. 866; Appendix/Exhibit, containing “White Paper on the Science of Late

       Adolescence,” pages 10-16, 17-26, and 36-56.

       Salvador is seeking a sentence that will punish him adequately but not longer than

necessary to achieve the goals of sentencing articulated at 18 U.S.C. § 3553(a), and to that end

the information in the above-cited documents support, inter alia, his contentions that:

   •   The scientific evidence now shows overwhelmingly that the areas of the brain affecting

       decision making and impulse control are not fully developed until at least an individual’s

       early 20s. As Salvador committed the offenses in this case when he was a teenager, such

       information should be considered at sentencing as a mitigating factor;

   •   While Salvador may have desired to be an MS-13 member as early as 2015 when he

       began displaying the indicia of membership (e.g, tattoos or the wearing of certain

       clothing articles), there was no agreement with any verified MS-13 member that he had

       been accepted into the charged conspiracy of MS-13 until summer 2018. See United

       States v. Rivera-Santiago, 872 F. 2d 1073, 1079 (1st Cir. 1989) (an agreement between

       the conspirators is the “sine qua non of a conspiracy”);

   •   Salvador conspired with two members of the Huntington MS-13 clique to murder Luis

       Ruano in December 24 2016, but he was not accepted into Huntington at any level

       (including paro). See, e.g., Grand Jury testimony of CW-19, October 24, 2018, at 35

       (Bates No. 6578) (CW-19 stated that he “hung out for about a year” with the Huntington

       clique without ever becoming a member);




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    •    Any statements Salvador made prior to 2018 denying MS-13 membership, including to a

         federal judge in U.S. Immigration Court in Boston, reflect that lack of an agreement

         (express or implied) with MS-13; and

    •    Salvador has accepted full responsibility for the role he played in violently taking two

         lives; his regret at having committed these offenses is genuine, and his desire to renounce

         the empty promises of gang life – and the horrific destructive behaviors they lead to – and

         devote the rest of his life to his full rehabilitation is sincere.

                                                       Respectfully submitted,
                                                       HENRI SALVADOR GUTIERREZ

                                                       By his attorney,
                                                       /s/ George F. Gormley
                                                       George F. Gormley
                                                       BBO# 204140 / App. No. 11595
                                                       George F. Gormley, P.C.
                                                       160 Old Derby Street
                                                       Suite 456
                                                       Hingham, MA 02043
                                                       (617) 268-2999
Date: February 9, 2022

                                           CERTIFICATE OF SERVICE

          I hereby certify that this document filed through the ECF system will be sent to the registered participants
as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.


                                                       /s/ George F. Gormley
                                                       George F. Gormley




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